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                                     CO U RT M IN UTES                                    Page 1

                                M agistrate Judge A licia M .O tazo-Reyes
                    AtkinsBuildingCourthouse-10th Floor                        Date:10/22/20        Time:11:00A,M.
    Defendant:Acisclo Valladares Urruela       J#;              Cas #:20-3308-TORRES

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     r- Random urine testing by PretrialServices                            '                  .
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